Case 0:14-cv-60334-PCH Document 1 Entered on FLSD Docket 02/10/2014 Page 1 of 5




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                       CASE NO.

 RANDI WATON, individually,

       Plaintiff,

 v.

 CLIENT SERVICES, INC.,                                       JURY DEMAND
 a foreign corporation,

       Defendant.
 _________________________________________/

               COMPLAINT FOR DAMAGES AND INJUNCTIVE RELIEF

 1.    Plaintiff RANDI WATON alleges violations of the Telephone Consumer Protection Act,

       47 U.S.C. § 227 et seq. (“TCPA”), and the Fair Debt Collection Practices Act, 15 U.S.C.

       § 1692 et seq. (“FDCPA”), against Defendant CLIENT SERVICES, INC. Plaintiff

       alleges that Defendant incessantly and unlawfully called Plaintiff’s cellular telephone

       using an automatic telephone dialing system (i.e. “auto-dialer”) and a pre-recorded or

       artificial voice.

                                JURISDICTION AND VENUE

 2.    This Court has subject matter jurisdiction under 28 U.S.C. § 1331 and 15 U.S.C. § 1692k

       as this is a civil action arising under the laws of the United States.

 3.    This Court has personal jurisdiction over the Defendant because the telephone calls

       forming the basis of this action were placed by the Defendant into this District, and

       because Defendant conducts business in this District by regularly placing telephone calls,

       sending mail, and transacting with alleged debtors in this District.
Case 0:14-cv-60334-PCH Document 1 Entered on FLSD Docket 02/10/2014 Page 2 of 5




 4.    Venue in this District is proper because the Plaintiff resides here and received telephone

       calls from Defendant within this District.

                                            PARTIES

 5.    Plaintiff RANDI WATON is a natural person and a citizen of the State of Florida,

       residing in Broward County, Florida.          Said Plaintiff is the sole possessor, owner,

       subscriber, and operator of the cellular telephone that Defendant was calling.

 6.    Defendant CLIENT SERVICES, INC. (“Client Services”) is a debt collector that uses,

       among other things, an automated telephone dialing system to engage in debt collection

       and operates from offices located at 3451 Harry S. Truman Boulevard, St. Charles, MO

       63301; Plaintiff further alleges that Client Services is a citizen of the State of Missouri.

 7.    Defendant regularly collects or attempts to collect consumer debts for other persons.

 8.    Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).

                                  FACTUAL ALLEGATIONS

 9.    Prior to the institution of this action, the Plaintiff allegedly incurred a consumer debt to

       Citibank, N.A. in connection with a personal credit card.

 10.   The Plaintiff used this credit card for primarily personal, family, and household purposes.

 11.   The Plaintiff allegedly failed to pay the debt, and Defendant Client Services was engaged

       to collect it.

 12.   The Defendant subsequently discovered the Plaintiff’s cellular telephone number, and

       began placing automated telephone collection calls to it.

 13.   Upon answering any of these calls, the Plaintiff was met either by a noticeable period of

       “dead air” while the caller’s telephone system attempted to connect the Plaintiff to a live




                                                 2
Case 0:14-cv-60334-PCH Document 1 Entered on FLSD Docket 02/10/2014 Page 3 of 5




       employee, or an automated message advising her to “please hold for the next available

       agent.”

 14.   The Defendant’s method of contacting Plaintiff is indicative of its ability to dial numbers

       without any human intervention in the calling process, which the FCC has opined is the

       hallmark of an automatic telephone dialing system. See In the Matter of Rules &

       Regulations Implementing the Telephone Consumer Protection Act of 2008, 23 F.C.C.R.

       559, 565-66 (2008); In the Matter of Rules & Regulations Implementing the Telephone

       Consumer Protection Act of 1991, 18 F.C.C.R. 14014, 14091-92 (2003).

 15.   In sum, the Defendant made telephone calls to Plaintiff’s cellular telephone, each of

       which was made using an automatic telephone dialing system and an artificial or pre-

       recorded voice.

 16.   Defendant made the aforementioned telephone calls knowing that they were using an

       automatic telephone dialing system or an artificial or prerecorded voice to call a cellular

       telephone, and further knew that such calls were in violation of the TCPA, and

       consequently, these violations were willful and knowing.

                                COUNT I
           VIOLATIONS OF TELEPHONE CONSUMER PROTECTION ACT

 17.   Plaintiff incorporates paragraphs 1 through 16 herein.

 18.   Defendant violated 47 U.S.C. § 227(b)(1)(A)(iii) of the Telephone Consumer Protection

       Act by making telephone calls to Plaintiff’s cellular telephone, which were initiated by an

       automatic telephone dialing system or made using an artificial or prerecorded voice, and

       not legally permissible under any provision to the aforementioned statute.

       WHEREFORE, Plaintiff RANDI WATON, requests that the Court enter judgment in

 favor of Plaintiff and against Defendant CLIENT SERVICES, INC. for:



                                               3
Case 0:14-cv-60334-PCH Document 1 Entered on FLSD Docket 02/10/2014 Page 4 of 5




       a.       $500 dollars in statutory damages for each violation of the TCPA over the last

                four years;

       b.       $1,500 dollars in statutory damages for each knowing or willful violation of the

                TCPA over the last four years;

       c.       a permanent injunction prohibiting Defendant from placing non-emergency calls

                to Plaintiff’s cellular telephone using either an automatic telephone dialing system

                or an artificial or prerecorded voice;

       e.       litigation expenses and costs of the instant suit; and

       f.       such other or further relief as the Court deems proper.

                                   COUNT II
            VIOLATIONS OF THE FAIR DEBT COLLECTION PRACTICES ACT

 19.   Plaintiff incorporates paragraphs 1 through 16 herein.

 20.   Defendant violated the TCPA by placing telephone calls to Plaintiff’s cellular telephone,

       which were initiated by an automatic telephone dialing system or made using an artificial

       or prerecorded voice. These actions further violated the Plaintiff’s rights under the

       FDCPA pursuant to 15 U.S.C. § 1692d and 15 U.S.C. § 1692f. See Clark v. Weltman,

       Weinberg & Reis, Co., L.P.A., 2010 WL 2803975, at *2 (S.D. Fla. July 15, 2010)

       (holding that allegations which support a cause of action under the TCPA may also

       support a violation of the FDCPA).

       WHEREFORE, Plaintiff RANDI WATON, requests that the Court enter judgment in

 favor of Plaintiff and against Defendant CLIENT SERVICES, INC. for:

             a. actual damages;

             b. statutory damages of $1,000.00;

             c. attorney’s fees, litigation expenses, and costs of the instant suit, and;



                                                   4
Case 0:14-cv-60334-PCH Document 1 Entered on FLSD Docket 02/10/2014 Page 5 of 5




            d. such other or further relief as the Court deems just and proper.

                                            JURY DEMAND

         Plaintiff demands trial by jury.

 Dated this 10th day of February, 2014.

                                                BRET L. LUSSKIN, Esq.
                                                Attorney for Plaintiff
                                                20803 Biscayne Blvd., Ste 302
                                                Aventura, FL 33180
                                                Telephone: (954) 454-5841
                                                Facsimile: (954) 454-5844
                                                blusskin@lusskinlaw.com

                                             By: /s/ Bret L. Lusskin, Esq.
                                                 Bret L. Lusskin, Esq.
                                                 Florida Bar No. 28069




                                                   5
